               Case 2:04-cr-00465-MJP Document 30 Filed 10/02/20 Page 1 of 1




                                                        THE HONORABLE MARSHA J. PECHMAN
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 3
 4
                               UNITED STATES DISTRICT COURT
 5                            WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7
     UNITED STATES OF AMERICA,                           )   No. CR04-465-MJP
 8                                                       )
                     Plaintiff,                          )
 9                                                       )   ORDER GRANTING
                v.                                       )   MOTION TO FILE OVERLENGTH
10                                                       )   MOTION
     CLIFFORD COURT UPTEGROVE,                           )
11                                                       )
                     Defendant.                          )
12                                                       )
13
14          This matter has come before the Court on Clifford Uptegrove’s motion to file an

15   overlength motion for compassionate release. The Court has considered the motion and

16   the records herein.

17          IT IS NOW ORDERED that Mr. Uptegrove’s motion to file an overlength

18   motion is GRANTED.

19          DATED this 2 day of October, 2020.

20
21                                                      ________________________________
                                                        MARSHA J. PECHMAN
22                                                      UNITED STATES DISTRICT JUDGE
23   Presented by:

24   s/ Michael Filipovic
     Federal Public Defender
25   Attorney for Clifford Uptegrove
26

                                                                      FEDERAL PUBLIC DEFENDER
       ORDER TO FILE OVERLENGTH MOTION                                   1601 Fifth Avenue, Suite 700
       (United States v. Uptegrove, CR04-465-MJP) - 1                      Seattle, Washington 98101
                                                                                      (206) 553-1100
